IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
5:()9-CV-42-H
KEOSHA HORNE and NETTIE TYSON, on
behalf of themselves and all other similarly
situated individuals,
Plaintiffs,

v. ORDER

SMITHFIELD PACKING COMPANY,
INC.,

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Defendant. )

This case comes before the court on Plaintiffs’ Motion for Appointment of Co-Lead
Counsel (D.E. 185), brought by Gilda A. Hernandez (“Hernandez”); her law firm, The Law
Offices of Gilda A. Hernandez, PLLC (“Hernandez firm”); Christine E. Webber (“Webber”);
and her firm, Cohen Milstein Sellers and Toll, PLLC (“Cohen Milstein”) (collectively
“Hernandez/Cohen Milstein”).l In effect, the motion seeks the appointment of Hernandez/Cohen
Milstein both as sole Fed. R. Civ. P. 23 class counsel for plaintiffs, thereby supplanting H. Forest

Horne, Jr. (“Horne”)2 of Martin & Jones, PLLC (“M&J”) as co-class counsel, and as counsel for

opt-in plaintiffs on the collective action claims in this case. The motion has been fully briefed3

 

l Although the motion and supporting memorandum were filed by Hernandez and the Hernandez firm,
Hernandez/Cohen Milstein made the subsequent filings in support of the motion.

2 ln some filings, the designation “Jr.” appears as part of Horne’s name (see, e.g., Compl. (D.E. l) l()) and in others
it does not (see, e.g., Home Dec. (194-1) l, 7, 8).

3 In support of the motion, Hernandez and the Hernandez firm filed a memorandum (D.E. 186) with exhibits (D.E.
186-l through D.E. 186-3). Several attorneys with M&J filed a memorandum (D.E. 194) with exhibits (D.E. 194-l
through D.E. 194-5) in opposition. Defendant Smithfield Packing Company, Inc. (“defendant”) also filed a
memorandum (D.E. 195) with exhibits (D.E. 195-1 through D.E. 195-2) in opposition. Hernandez/Cohen Milstein
filed a reply memorandum (D.E. 198) with exhibits (D.E. 198-l through D.E. 198-16). Defendant filed a notice of
supplemental authority (D.E. 206) to which Hernandez/Cohen Milstein filed two responses (D.E. 207, D.E. 208).

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and referred to the undersigned for determination pursuant to 28 U.S.C. § 63 6(b)(l)(A). (Minute
Entry following D.E. 194), For the reasons set forth below, the motion will be denied.
BACKGROUND

I. PLAINTIFFS’ CLAIMS

The initial complaint in this case (D.E. l; corrected at D.E. 3) Was filed on 2 February
2009, and an amended complaint (D.E. 39) on 6 November 2009, The remaining named
plaintiffs, Keosha Horne and Nettie Tyson,4 and other members of the plaintiff class
(“plaintiffs”) are current and former production and support employees of defendant Smithfield
Packing Company, Inc. (“defendant”) at its Wilson, North Carolina bacon-processing facility
(“Wilson facility”). (Am. Compl. il l). Plaintiffs performed various tasks relating to pork
processing, including pressing, mixing, cutting, cleaning, and packaging or otherwise preparing
the pork for distribution. (Id. il 16). Plaintiffs allege that defendant failed to compensate them
for all hours worked. (Id. il l). 'l`he particular activities plaintiffs were required to perform, but
for which they allege they were not compensated, are: pre-shift donning and dofflng of
protective items and hygiene-related equipment; walking to their work stations on or near the
bacon-processing lines and waiting for their shift to begin; walking outside of the production
area after their unpaid meal period started; doffing protective clothing and gear during unpaid
meal periods, and donning protective clothing and gear and returning to their workstations before
the end of the meal period; post-shift walking outside of the production area and doffing and
disposing of protective clothing and gear; and generally performing pre- and post-shift activities

required by defendant for which they were not paid. (ld. W 30-31).

 

4 A third plaintiff named in the original complaint has withdrawn as a class representative, but remains in the
plaintiff class. (See 9 July 2009 Order (DE. 22)).

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Plaintiffs assert two sets of claims: a Rule 23 class action for violations of the North
Carolina Wage and Hour Act (“NCWHA”), N.C. Gen. Stat. § 95-25.1, et seq., and a collective
action for violations of the Fair Labor Standards Act of 1938 (“FLSA”), 29 U.S.C. § 201, et seq.
They seek unpaid back wages, unpaid benefits, liquidated damages, attorneys’ fees, and other
relief. (Am. Compl., Prayer for Relief ilil 5-7). Defendant generally denies plaintiffs’
substantive allegations (See Def.’s Ans. (D.E. 42)).

The parties have engaged in substantial discovery (see Jt. Mot. to Amend Sched. Order
(D.E. 147 il 2)), but it has not been completed (see 25 March 2013 Order (D.E. 205)). There is
presently no date set for trial. (See id.).

II. REPRESENATION OF PLAINTIFFS

Attorneys Horne, Hoyt G. Tessener (“Tessener”), G. Christopher Olson (“Olson”), and
Hernandez, all then with M&J, brought this action on behalf of plaintiffs (Compl. 10). Horne,
Tessener, and Olson were all partners of the firm and had many years of practice as North
Carolina attorneys. (Horne Dec. (D.E. 194-1) ilil 3-17). They remain partners with M&J. (See
ia'.). M&J has about 15 attorneys and its principal office is in Raleigh, North Carolina. (See
Pls.’ Mot. for Designation as Class Counsel (D.E. 106) 4).

Hernandez was a first-year associate when this case commenced (Horne Dec. il 20). She
had joined the firm in 2008 after serving for over ten years as a wage and hour investigator with
the United States Department of Labor in California. (Hernandez Dec. (D.E. 198-1) il 2). She
had not previously practiced law. (Horne Dec. il 20). Hernandez took a leading role in building
a wage and hour practice at M&J, which it did not have before she joined the firm. (Hernandez

Dec. il 4).

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On 23 September 2011, the court certified plaintiffs’ NCWHA claims as a class action
under Fed. R. Civ. P. 23, appointed Hernandez and Horne as Rule 23 class counsel, and
conditionally certified the FLSA claims as a collective action under 29 U.S.C. § 216(b). (23
Sept. 2011 Order (D.E. 111) 10 ilil 2, 3, 5). By order entered 16 March 2012, the court approved
the parties’ proposed class notice (D.E. 123-1), which identified Hernandez and Horne of M&J
as class counsel and provided a toll-free telephone number and a telefax number for the firm.
(16 Mar. 2012 Order (D.E. 120) 6 § IV). The notice was subsequently mailed to potential class
members (See Notice of Mailing (D.E. 123)).

In January of 2013, Hernandez left M&J on less than amicable terms and founded the
Hernandez firm, located in Apex, North Carolina. (Hernandez Dec. (D.E. 198-1) ilil 23, 25;
Horne Dec. il 23). Hernandez appears to be the only attorney at her firm. (See Hernandez
Resume (D.E. 186-1)). Cohen Milstein, which has offices in Washington, D.C. and elsewhere,
has over 70 attorneys and extensive experience in class action litigation and the wage and hour
area. (See Cohen Milstein Resume (D.E. 186-3), e.g., 5, 10, 16, 24-25). Webber herself, who is
admitted in Washington, D.C. and Illinois, has extensive experience in these areas and has been
in practice for many years (See id. 16-17). She works at the Washington, D.C. office of Cohen
Milstein. (See id. 17).

III. RELIEF SOUGHT

Hernandez’s departure from M&J and the related circumstances prompted the instant
motion. As stated in it and the supporting memorandum, Hernandez/Cohen Milstein initially
sought to be appointed as co-counsel for the Rule 23 class with the attorneys from M&J, as well
as counsel for the opt-in plaintiffs (Mot. 1; Support. Mem. 3). M&J’s response indicates that

such an arrangement would not likely be workable. (M&J’s Opp. (D.E. 194) 6 n.4). The reply

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memorandum and supporting materials filed by Hernandez/Cohen Milstein retreat from any
suggestion that the three law firms work together jointly. (See Reply Mem. (D.E. 198) 1).

In support of the motion, Hernandez/Cohen Milstein filed unsworn statements from the
two named plaintiffs (Keosha Horne statement (D.E. 186-2 at 2); Nettie Tyson statement (D.E.
186-2 at 3)). They state that they have chosen Hernandez to represent them going forward.

DISCUSSION

Rule 23 requires a court to appoint class counsel to fairly and adequately represent the
interests of the class. Fed. R. Civ. P. 23(g)(1), (4). In doing so, the court must consider: “(i) the
work counsel has done in identifying or investigating potential claims in the action; (ii) counsel’s
experience in handling class actions, other complex litigation, and the types of claims asserted in
the action; (iii) counsel’s knowledge of the applicable law; and (iv) the resources that counsel
will commit to representing the class.” Fed. R. Civ. P. 23(g)(l)(A); Beaulieu v. EQ Indus.
Servs., Inc., No, 5:06CV400-BR, 2009 WL 2209131, at *15 (E.D.N.C. 22 July 2009) (applying
Fed. R. Civ. P. 23(g)(l)(A)). In addition, the court may consider “any other matter pertinent to
counsel’s ability to fairly and adequately represent the interests of the class.” Fed. R. Civ. P.
23(g)(l)(B). “If more than one adequate applicant seeks appointment, the court must appoint the
applicant best able to represent the interests of the class.” Id. (g)(2).

The court agrees with the parties that any dual representation involving Hernandez and
M&J is not feasible. Communications between Hernandez and M&J attorneys appear to have
completely broken down, and the court cannot envision any scenario in which they could

continue to work together.5 Accordingly, the issue before the court is whether to have Horne and

 

5 The court notes that in support of its contention that it could better represent the plaintiff class Hernandez/Cohen
Milstein found it appropriate to submit materials containing the substance of purported communications between
M&J lawyers and class member clients in this and other wage and hour cases (Hernandez Dec. ilil 34, 35, 37, 38, 45,
46) and similar client communications by Hernandez (id. ilil 34, 35, 36, 37, 38, 44, 46). There are also disclosures

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his colleagues at M&J alone represent the plaintiff class going forward or, instead, to have
Hernandez/Cohen Milstein take over the representation For the following reasons, the court
finds that Horne and his colleagues at M&J should proceed as Sole class counsel for the plaintiff
class

The claims at issue in this case were, of course, identified and investigated by Horne,
Hernandez, and other attorneys at M&J. Hernandez argues that her role with respect to this
aspect of this case, and all others for that matter, was dominant. But given her lack of experience
as a practicing lawyer, as a litigator in particular, and in this jurisdiction, it is inconceivable that
she did not receive significant assistance from other attorneys at M&J in all phases of the
litigation. Horne states that he did, in fact, supervise Hernandez throughout this case and that
other attorneys also participated in the litigation. (Horne Dec. ilil 9, 19, 21). Irrespective of the
relative contributions of Horne and Hernandez, it is indisputable that they drew on the resources
of M&J to identify and investigate the claims at issue as well as thereafter to prosecute them.
(See ia’. ilil 19, 21). lt is equally clear that Cohen Milstein and its attorneys played no role in the
identification and investigation of the claims Indeed, they are essentially strangers to this case,
seeking to become involved in it over four years after it was commenced and brought forward to
this point by others

M&J’s attorneys possess the experience and expertise to handle the complexities of a
class action such as this one. Their experience and expertise in this area vastly outstrip that of
Hernandez. There has been no showing that the experience and expertise of Cohen Milstein and

its attorneys in this area materially surpasses that of M&J for purposes of this litigation.

 

regarding settlement negotiations (ld. ilil 37, 41, 46). The court assumes that Hernandez/Cohen Milstein obtained
any requisite consent for the disclosure of` the seemingly confidential information included in these materials

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Moreover, the experience and expertise of the M&J attorneys in class-action litigation
includes extensive practice in this court and before North Carolina juries In this particular
respect, they represent an advantage to the plaintiff class over Hernandez/Cohen Milstein.

While the experience of M&J’s attorneys with wage and hour act cases is not as great as
their experience in class actions generally, they have gained sufficient experience and expertise
in that area through this case and others to enable them to prosecute the claims of the plaintiff
class effectively without Hernandez at the firm. M&J’s effective participation in all proceedings
in this case thus far, including proceedings following Hernandez’s departure, substantiates the
sufficiency of its capability in the wage and hour area. In another wage and hour case before this
court, the court denied a motion by Hernandez comparable to the instant motion, effectively
determining that M&J could continue to adequately represent the plaintiff class See 12 Apr.
2013 Order (D.E. 178) 1, Romero v. Mountaire Farms, Inc., No. 7:09-CV-190-BO (E.D.N.C.).
Although Hernandez has extensive experience in the wage and hour area generally, she does not
have greater experience in the litigation of such claims herself since she did not start litigating
them until she joined M&J.

Admittedly, Cohen Milstein has more experience than M&J in the wage and hour area
generally, including litigation of such claims But a showing has not been made that Cohen
Milstein’s experience is materially superior to that of M&J for purposes of this litigation, given
the adequacy of M&J in that area.

Hernandez/Cohen Milstein suggests that Hernandez has greater commitment to the cause
of the plaintiff class than the M&J attorneys M&J has, of course, already committed substantial
resources to representing plaintiffs over the more than four years during which its attorneys have

served as plaintiffs’ counsel, including about $100,000 in litigation costs advanced to plaintiffs

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(Horne Dec. il 19). More broadly, M&J has an extended history of zealously and successfully
representing class-action plaintiffs in a myriad of settings (Horne Dec. ilil 4, 6, 16). No good
cause has been shown for the court to doubt the commitment of M&J and its attorneys to the
plaintiffs in this case going forward.

Additionally, while Hernandez speaks Spanish, M&J apparently has a legal assistant who
does as well. (Hernandez Dec. il 34). In any event, translation services are readily available in
the marketplace

Further, continuation of M&J’s role would be less disruptive than replacing it with
Hernandez/Cohen Milstein. Administratively, M&J is in possession of all the files,6 including
plaintiffs’ contact information More significantly, the M&J attorneys are well versed in this
case and would not have to familiarize themselves with it at this relatively advanced stage of the
litigation, as would Webber and any other attorneys from Cohen Milstein because they are all
new to the case

Moreover, continuation of M&J as class counsel would not require the provision of any
additional notice to the approximately 1,500 class members about their counsel and how to
contact them, whereas appointment of Hernandez/Cohen Milstein Would. While the class notice
did list Hernandez, along with Horne, as class counsel, it identified both as attorneys with M&J
and provided contact information for the firm. (Notice (D.E. 123-1) 4). Thus, the notice would
still be effective in directing class members to class counsel. M&J would, of course, need to
advise class members contacting it that Hernandez was no longer there, but that attorneys from

the firm continued to represent the class

 

6 Hernandez indicates that she has requested a copy of the case file, but it has not been provided to her.
(Hernandez/Cohen Milstein Reply 5).

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Hernandez/Cohen Milstein points to the fact that while working at M&J Hernandez
logged substantially more hours on this case than any other M&J attorney. But it is not
uncommon for the junior attorney on a case to accrue the most hours. In any event, the hours
spent by Hernandez do not negate the experience gained by other attorneys at M&J in the wage
and hour area and in this litigation in particular.

Notwithstanding these considerations, the court does appreciate the experience and
expertise of Hernandez in the wage and hour area and her significant role in this litigation. It
would arguably be ideal for Hernandez to continue her involvement with this litigation alongside
M&J. But for the reasons discussed, it is evident that this is not a viable option.

The court recognizes that, according to their unsworn statements, the named plaintiffs
would prefer Hernandez to represent them going forward. Their preference, however, is not
dispositive of the selection of class counsel. See, e.g., Maywalt v. Parker & Parsley Petroleum
Co., 67 F.3d 1072, 1078 (2d Cir. 1995) (“The fact that the named plaintiffs in a certified class
action have been found to be adequate representatives of the class does not, however, mean that
they have the right to replace class counsel at will. . . . The ultimate responsibility to ensure that
the interests of class members are not subordinated to the interests of either the class
representatives or class counsel rests with the district court.”); Walsh v. Great Atl. and Pac, Tea
Co., 726 F.2d 956, 964 (3d Cir. 1984) (“Class counsel’s duty to the class as a whole frequently
diverges from the opinion of either the named plaintiff or other objectors.”); In re Bank of Am.
Sec. Ll`tig., 210 F.R.D. 694, 703 (E.D. Miss. 2002) (“A determination of what is best for the class

is not dependent on the special desires of the named plaintiffs.”). The court finds that the named

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plaintiffs’ preference does not outweigh the other factors noted favoring continuation of M&J
attorneys as class counsel.7

In sum, after careful consideration of all relevant portions of the record, the court
concludes that Horne and his colleagues at M&J are better able to represent the interests of the
plaintiff class than Hernandez/Cohen Milstein going forward. The instant motion will therefore
be denied.

CONCLUSION

F or the foregoing reasons, Plaintiffs’ Motion for Appointment of Co-Lead Counsel (D.E.
185) is DENIED. Horne, with the assistance of other attorneys at M&J, shall remain as class
counsel in this case In the event Hernandez is deemed still to be serving as co-class counsel
under the court’s 23 September 2011 notwithstanding her departure from M&J, her role as such
is hereby TERMINATED.

SO ORDERED, this 22nd day of July 2013.

  

 

 

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7 In the event the named plaintiffs persist in their desire to have Hernandez represent them, an issue would appear to
be presented regarding the propriety of their continuing as class representatives Class counsel should pursue this
potential issue as appropriate, including seeking by motion any relief from the court deemed necessary.

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